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                                                      AFFIDAVIT OF SERVICE

                                            UNITED STATES DISTRICT COURT
                                               Southern District of New York

lndex Number'. 1 .21-CV-10929-JPC                                                                                            Date Filed:

Plaintiff:
Kent Salveson
VS.

Defendant:
Related Management Company, L.P., et al.

State of New York, County of Albany)ss.:

Received by MJS lnvestigations to be served on 17th and 1Oth Associates LLC s/h/a 17th and 1Oth
Associates LLC a/k/a 17th and 1Oth Associates lnc..

l, Patricia Burke, being duly sworn, depose and say that on the 20th day of January, 2022at 3:15 pm, l:

served the within named Limited Liability Company, 17th and 1Oth Associates LLC s/h/a 17th and 1Oth
Associates LLC a/k/a 17th and 1Oth Associates lnc. by delivering two true copies of the Summons in
a Civil Action, Complaint and Civil Cover Sheet pursuant to Section 303 LLCL together with
statutory service fee in the amount of $40.00 to Nancy Dougherty as Business Document
Specialist of New York State Department of State, 99 Washington Avenue, 6th Floor, Albany, NY. The
New York State Department of state being the Registered AgenUStatutory Agent of record of the within
named limited liability company, in compliance with state statutes.



Description of Person Served:Age: 61, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: Y

I certify that I am over the age            of 18, have no interest in the above action




Subscribed and Sworn to before me on the 25th day                                       Process Server
of_January, 2022by the affiant who is personally
 nolyn to me                                                                            MJS lnvestigations
                                                                                        455 Tarrytown Road
             LLL                                                                        Suite 1143
              PUBLIC                                                                    White Plains, NY 10607

                                                                                        Our Job Serial Number: SRN-2022000375
                     JOANIIE SPORIMAI{
               I{otary tublic, State ol New Yo*




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